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UNITED STATES DISTRICT COURT

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CHRISTA MCAULIFFE INTERMEDIATE
SCHOOL PTO, INC., et al.,
                                                            CIVL CASE DISCOVERY PLAN AND
                                  Plaintiffs,               SCHEDULING ORDER
-against-

BILL DE BLASIO, in his official capacity         as           18-cv-11657 (ER)
Mayor of New York, et aI.,




       This Civil Case Discovery Plan and Scheduling Order is adopted, after consultation       with
counsel, pursuant to Fed. R. Civ. P. 16 and 26(\:

        1.        All parties do not consent to conducting all further proceedings before   a
                  Magistrate Judge, including motions and trial, pursuant to 28 U.S.C. $ 636(c). The
                  parties are free to withhold consent without adverse substantive consequences. (If
                  all parties consent, the remaining paragraphs of this form need not be completed.)

       2          This case is not to be tried to a jury.

       J          Joinder of additional parties must be accomplished by May 31,2019

       4          Amended pleadings may be filed until May 31,2019

       5          Initial disclosures shall be exchanged no later than March 29,2019

       6          First set of Interrogatories shall be served no later than April 12,2019, and
                  responses thereto shall be served within thirty (30) days thereafter. The provisions
                  of Local Civil Rule 33.3 shall apply to this case.

       7          First set of Requests for Production of Documents, if any, shall be served no later
                  than April 12,2019.

       8          Non-expert discovery, including non-expert depositions, shall be completed by
                  August 15,2019.

             a.       Unless counsel agree otherwise or the Court so orders, depositions shall not be
                      held until all parties have responded to any first requests for production of
                      documents.

             b.       Depositions shall proceed concurrently



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            c.       Whenever possible, unless counsel agree otherwise or the Court so orders,
                     non-party depositions shall follow party depositions, except Defendants will
                     object to depositions of the Mayor and the Chancellor (both of whom are
                     named in their official capacities) if Plaintiffs seek to take their depositions.

      9.         Any further interrogatories shall be served no later than June 15,2019.

      10.        First set of Requests to Admit, if any, shall be served no later than July 15, 2019.

      11.        Expert reports shall be served no later than August T5,2019.

      12.        Expert depositions shall be completed by September 16, 2019.

      13.        Additional provisions agreed upon by counsel are attached hereto and made apart
                 hereof.

      14.        ALL DISCOVERY SHALL BE COMPLETED BY September                           160   2019.

      15.        Any motions shall be filed in accordance with the Court's Individual Practices.

      t6         This Civil Case Discovery Plan and Scheduling Order may not be changed
                 without leave of Court (or the assigned Magistrate Judge acting under a specific
                 order ofreference).
                                                                            Ona T. Wang.
      17.        The Magistrate Judge assigned to this case is the Hon.

      18.        If, after entry of this Order, the parties consent to trial before a Magistrate Judge,
                 the Magistrate Judge will schedule a date certain for trial and will, if necessary,
                 amend this Order consistent therewith.

      19.        The next case management conference is scheduled for September 18, 2019
                 at 11:00 a.m.    (The Court will set this date at the initial confcrcncc.)




     SO ORDERED.

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Dated: March _,2019
New York, New York                                              Edgardo Ramos, U.S. District Judge




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